962 F.2d 18w
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    UNITED STATES of America, Plaintiff-Appellee,v.UNITED SERVICES AUTOMOBILE ASSOCIATION, Defendant-Appellant,National Association of Independent Insurers, Amicus Curiae.
    No. 91-3236.
    United States Court of Appeals, Tenth Circuit.
    April 29, 1992.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    